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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 16-0643V
                                    Filed: October 12, 2017
                                        UNPUBLISHED


    JESSICA BROOKS,

                        Petitioner,                          Special Processing Unit (SPU);
    v.                                                       Attorneys’ Fees and Costs

    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                       Respondent.


Danielle Strait, Maglio Christopher & Toale (WA), Seattle, WA, for petitioner.
Christine Mary Becer, U.S. Department of Justice, Washington, DC, for respondent.

                      DECISION ON ATTORNEYS’ FEES AND COSTS1

Dorsey, Chief Special Master:

       On May 31, 2016, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the “Vaccine
Act”). Petitioner alleged that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) in her left arm causally related to the influenza vaccination she
received on November 14, 2014. Petition at ¶¶ 1-2, 5. On May 5, 2017, the
undersigned issued a decision awarding compensation to petitioner based on the
parties’ stipulation. (ECF No. 27.)

       On October 5, 2017, petitioner filed an unopposed motion for attorneys’ fees and
costs. Petitioner’s Unopposed Motion for Attorneys’ Fees and Costs (“Pet. Motion”)


1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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(ECF No. 32.)3 Petitioner requests attorneys’ fees in the amount of $9,958.30 and
attorneys’ costs in the amount of $804.27. Id. at ¶¶ 2-3. In compliance with General
Order #9, petitioner filed a signed statement indicating that petitioner incurred no out-of-
pocket expenses. See 3rd Attachment to Pet. Motion (ECF No. 32-3). Thus, the total
amount requested is $10,762.57. Pet. Motion at ¶ 8.

       The Vaccine Act permits an award of reasonable attorneys’ fees and costs.
§ 15(e). Based on the reasonableness of petitioner’s request and the lack of opposition
from respondent, the undersigned GRANTS petitioner’s motion for attorneys’ fees and
costs.

      Accordingly, the undersigned awards the total of $10,762.574 as a lump
sum in the form of a check jointly payable to petitioner and petitioner’s counsel,
Danielle A. Strait. Per petitioner’s request, the check should be forwarded to
Maglio, Christopher & Toale, PA, 1605 Main Street, Suite 710, Sarasota, Florida
34236.

        The clerk of the court shall enter judgment in accordance herewith.5

IT IS SO ORDERED.

                                                           s/Nora Beth Dorsey
                                                           Nora Beth Dorsey
                                                           Chief Special Master




3 The motion was filed as an unopposed motion and specifically states that respondent has no objection
to petitioner’s request. Pet. Motion at ¶ 6.

4This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all
charges by the attorney against a client, “advanced costs” as well as fees for legal services rendered.
Furthermore, § 15(e)(3) prevents an attorney from charging or collecting fees (including costs) that would
be in addition to the amount awarded herein. See generally Beck v. Sec’y of Health & Human Servs.,
924 F.2d 1029 (Fed. Cir.1991).

5 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                      2
